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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 97-6002-CR-MARTINEZ


   UNITED STATES OF AMERICA,


   v.


   DAVID ANTHONY ROSATN, JR.,

                          Defendant.
                                                   /

                    GOVERNMENT’S RESPONSE IN OPPOSITION TO
                DEFENDANT’S MOTION FOR IMPOSITION OF A REDUCED
               SENTENCE PURSUANT TO SECTION 404 OF THE FIRST STEP

          The United States of America, by and through the undersigned Assistant United States

   Attorney, hereby files this response in opposition to David Anthony Rostan Jr.’s motion for imposition

   of a reduced sentence pursuant to Section 404 of the First Step Act (DE 361) and states as follows:

                                     RELEVANT BACKGROUND

          On December 9, 1999, the defendant was found guilty by a jury of Counts One through

   Four of the Superseding Indictment, charging him with trafficking in counterfeit access devices,

   in violation of 18 U.S.C. § 1029(a)(2) (Count One);          possession of fraudulent immigration

   documents, in violation of 18 U.S.C. § 1546(a) (Count Two); possession with intent to distribute

   a mixture and substance containing cocaine base, that is, crack cocaine, in violation of 21 U.S.C.

   § 841(a)(1) (Count Three); and possession with intent to distribute a detectable amount of cocaine,

   in violation of 21 U.S.C. § 841(a)(1) (Count Four) (DE 24; PSI ¶ 1). The Superseding Indictment

   did not specify a penalty provision of Section 841(b)(1) for Counts Three and Four (DE 24).

   Moreover, the jury’s verdict did not specify the quantity of crack cocaine involved in the offense

   (DE 190).
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             The PSI calculated the defendant’s base offense level for Counts Three and Four at a level

   38 based upon the amount of crack cocaine involved – specifically 865.8 grams – and the

   defendant’s possession of a dangerous weapon (PSI ¶¶ 34, 35, 39). 1 Prior to the commencement

   of the trial, the government had filed an information pursuant to 21 U.S.C. § 851, advising the

   defendant that he was subject to a sentencing enhancement pursuant to 841(a)(1) as the result of

   his two prior qualifying felony convictions (DE 175). As the offense involved 50 grams or more

   of crack cocaine, and because an 851 enhancement applied, the statutory range of imprisonment

   was a mandatory life sentence, pursuant to Section 841(b)(1)(A) (PSI ¶ 75). The defendant did

   not object to either the amount of crack cocaine set forth in the PSI or the statutory range of

   imprisonment (DE 218, 219). The PSI next determined that the defendant had 9 criminal history

   points, resulting in a criminal history category IV (PSI ¶ 61). Based on the defendant’s total

   offense level of 38 and criminal history category of IV, the resulting guideline range was 324 to

   405 months’ imprisonment (PSI ¶ 76). However, as previously stated, because of the 851

   enhancement filed as to Count Three, the defendant was subject to a mandatory term of life

   imprisonment, pursuant to Section 841(b)(1)(A) (PSI ¶ 75).

             On March 23 2000, the Court sentenced the defendant to a term of life imprisonment (DE

   266). 2     The defendant appealed, and his conviction was affirmed in an unpublished opinion.



   1
    The PSI further calculated the defendant’s possession of 184.6 grams of cocaine Count Four,
   which was grouped with Count Three (PSI ¶ 34). The conversion table in USSG § 2D1.1
   converted both the 184.6 grams of cocaine (36.92 kilograms of marijuana) and the 865.8 grams of
   crack cocaine (17,316 kilograms of marijuana) for a total of 17,352.92 kilograms of marijuana,
   yielding a base offense level of 36 (at least 10,000 kilograms but less than 30,000 kilograms of
   marijuana) (PSI ¶ 34).
   2
    The life sentence consisted of the following: 120 months’ imprisonment as to Counts One and
   Two, 360 months’ imprisonment as to Count Four, and life imprisonment as to Count Three, all
   counts to run concurrently with each other (DE 266:2).


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   United States v. Rostan, 2001 U.S. App. Lexis 32344 (11th Cir. 2001). The Supreme Court denied

   certiorari review on June 28, 2002. Rostan v. United States, 536 U.S. 970, 122 S. Ct. 2688 (2002).

            The defendant subsequently filed his first § 2255 motion to vacate, Case No. 03-61167-

   CV- Martinez, raising two grounds for relief: (1) trial counsel was ineffective for failing to pursue

   the motion to suppress filed by prior counsel; and (2) appellate counsel was ineffective for failing

   to raise a speedy trial claim and the ineffective claim on direct appeal (CV1-DE 1). 3 On November

   19, 2008, the Eleventh Circuit denied Defendant’s certificate of appealability because Defendant

   had failed to make a substantial showing of the denial of a constitutional right, in accordance with

   28 U.S.C. § 2253(c)(2) (CV1-DE 58).

            Simultaneously while appealing the denial of his first § 2255 motion, Defendant filed a

   second motion to vacate, Case No. 06-60073-CV-Gonzalez, challenging the constitutionality of

   his convictions and sentences in light of United States v. Booker, 543 U.S. 220, 229 (2004) (CV2-

   DE 1). 4 The Court adopted a Report and Recommendation recommending that the motion be

   dismissed as a successive petition without permission from the Eleventh Circuit to file a new

   petition on April 11, 2006 (CV2-DE 5). Defendant did not file an appeal of this order.

            In October 2013, the defendant filed a Rule 60(b)(6) motion seeking to set aside, based

   upon a “fraud on the court” argument, the judgment entered in his first § 2255 motion (DE 321).

   On December 12, 2014, the Court denied the defendant’s motion, finding no evidence of fraud,

   and further noting that the basis for the present motion was untimely in the Eleventh Circuit (CR-

   DE 333). On July 29, 2015, the Eleventh Circuit denied the defendant’s motion for certificate of

   appealability to appeal the denial of his Rule 60(b) motion on the basis that the defendant had


   3
       Citations to Case No. 03-61167-CV-Martinez are designated as “(CV1-DE __).”
   4
       Citations to Case No. 06-60073-CV-Gonzalez are designated as “(CV2-DE __).”
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   failed to make the requisite showing that a certificate of appealability was meritorious because

   “reasonable jurists would find debatable both (1) the merits of an underlying claim, and (2) the

   procedural issues that he seeks to raise” (DE 343).

            Undeterred, the defendant filed yet another Rule 60(b) motion in both his initial § 2255

   proceeding, as well as, his underlying criminal case, again seeking to challenge the

   constitutionality of his criminal convictions and sentences entered in the instant case (CV1-DE

   60). Therein, the defendant requested that the Court vacate the judgment of his initial § 2255

   proceeding, and reconsider granting him relief based on the United States v. Holloway, 2014 WL

   3734269 (E.D.N.Y. 2014) decision. The Court, upon careful review, determined that the motion

   was in legal effect an improper Rule 60(b) motion, and was construed as a new proceeding filed

   pursuant to 28 U.S.C. § 2255. Consequently, an order was entered directing the Clerk to take the

   Rule 60(b) motion filed in the defendant’s initial § 2255 proceeding, and open a new case, pursuant

   to § 2255, Case No. 16-60783-CV-Martinez (CV3-DE 1). 5 The 2016 proceeding was dismissed

   for lack of jurisdiction as it was an improper Rule 60(b) motion, and an unauthorized, successive

   § 2255 motion, because the defendant had not obtained permission from the Eleventh Circuit to

   file a successive petition (CV3-DE 4, 9).

            On January 30, 2017, the defendant returned yet again to the Court, filing another § 2255

   motion to vacate, Case No. 17-60291-CV-Martinez (CV4-DE #1). 6 This time, the defendant

   argued that pursuant to the “Holder memo,” the Government “likely would not [have] filed . . . the

   851 enhancement” against him (CV4-DE 1). Therefore, the defendant argued his sentence today

   would have been significantly lower (id.). On March 1, 2017, the Court entered an order adopting


   5
       Citations to Case No. 16-60783-CV-Martinez are designated as “(CV3-DE __).”
   6
       Citations to Case No. 17-60291-CV-Martinez are designated as “(CV4-DE __).”
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   the Report and Recommendation, recommending that the defendant’s motion to vacate be

   dismissed for lack of jurisdiction, as a successive, unauthorized § 2255 motion (CV4-DE 7).

           On July 18, 2017, the defendant filed a Request that the Government Reduce the Sentence

   in the Spirit of Fairness (DE 350). The Court denied the defendant’s motion as moot, as it had

   already entered a final order denying the defendant’s motion to vacate in Case No. 17-60291-CV-

   Martinez (DE 352).

           On April 13, 2018, the defendant again returned to the Court filing a motion requesting the

   Government to file a Downward Departure Under 18 U.S.C. § 3553 (DE 354). In his motion, the

   defendant requested that the Court “encourage the Government to consider withdrawing the

   information of the 21 U.S.C. § 851 so that the Court may impose a sentence that better serves the

   interests of justice” (DE 354). The Court denied the motion based on lack of jurisdiction (DE

   356).

           On March 13, 2019, the defendant filed the instant motion for a reduction of his sentence

   based on the First Step Act (DE 361). In his motion, the defendant argues that his drug offense is

   a “covered offense” because Section 2 of the First Step Act “modified the statutory penalties under

   841(b) for violation(s) of 21 U.S.C. [§] 841(b) for violation(s) of 21 U.S.C. 841(a) that involved

   crack cocaine, which was in fact Rostan’s violation” (DE 361:4). The defendant further argues

   that “[n]o jury found Rostan responsible for any particular quantity of crack. Thus, if the FSA

   were in effect, Rostan would not be subjected to any mandatory minimum, and so the Court is not

   restricted in any way when imposing a reduced sentence under Section 404” (DE 361:7-8).

                                             ARGUMENT

           Title 18, United States Code, Section 3582(c)(1)(B) authorizes a court to “modify an

   imposed term of imprisonment to the extent otherwise authorized by statute . . ..” On December



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   21, 2018, the First Step Act became law. Section 404 of the First Step Act provides that in the

   case of a defendant who, before August 3, 2010, committed a violation of a criminal statute, the

   penalties for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 (“Fair

   Sentencing Act”), a court may “impose a reduced sentence as if sections 2 and 3 of the Fair

   Sentencing Act . . . were in effect at the time the covered offense was committed.” Section 2 of

   the Fair Sentencing Act increased the threshold amount of cocaine base in 21 U.S.C.

   §§ 841(b)(1)(A)(iii) and 960(b)(1)(C) from 50 grams to 280 grams and increased the threshold

   amount of cocaine base in 21 U.S.C. §§ 841(b)(1)(B)(iii) and 960(b)(2)(C) from 5 grams to 28

   grams. Section 3 of the Fair Sentencing Act did away with the mandatory minimum sentence for

   possession of cocaine base in 21 U.S.C. § 844(a).

          The defendant was charged with, and was found guilty of, possessing with intent to

   distribute “a mixture and substance containing cocaine base, that is crack cocaine,” in violation of

   21 U.S.C. §§ 841(a)(1) (DE 24, PSI ¶ 1). The actual weight of the drugs was “865.8 grams of

   crack cocaine” (PSI ¶ 34). At the time of the defendant’s sentencing, this resulted in a statutory

   range of imprisonment of mandatory life, under Section 841(b)(1)(A) because of the enhanced

   penalties pursuant to Section 851. Had Section 2 of the Fair Sentencing Act been in effect at the

   time of the defendant’s sentencing, it would have had no impact on the defendant’s sentence.

   Because the Court found that the offense of conviction involved more than 280 grams of crack

   cocaine (specifically 865.8 grams of crack cocaine), the offense of conviction would still have

   been covered by Section 841(b)(1)(A). This means that the defendant’s statutory range of

   imprisonment would still have been mandatory life.

          To the extent that the defendant is arguing that he should be resentenced because neither

   the Superseding Indictment nor the jury’s verdict specified a quantity of crack cocaine, and



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   therefore he is no longer subject to any mandatory minimum sentence, the defendant’s argument

   is unavailing (DE 361:7-8). The First Step Act only affords courts jurisdiction to reduce the

   sentence of a defendant who “committed a violation of a criminal statute, the penalties for which

   were modified by section 2 or 3 of the Fair Sentencing Act.” While Sections 2 and 3 of the Fair

   Sentencing Act modified the penalties for offenses involving 50 or more grams and 5 or more

   grams of crack cocaine under Sections 841(b)(1)(A) and (B), nothing in the Fair Sentencing Act

   modified the penalties for offenses involving an unspecified amount of crack cocaine under

   Section 841(b)(1)(C). So if, as the defendant suggests, he was convicted of an offense involving

   an unspecified quantity of crack cocaine under Section 841(b)(1)(C), then the First Step Act would

   not afford the Court with jurisdiction to reduce his sentence.

          Of course, as reflected in the PSI, the defendant was convicted and sentenced under Section

   841(b)(1)(A) rather than Section 841(b)(1)(C) (PSI ¶ 76). In reality, the defendant’s argument that

   the Court should reduce his sentence to no more than 20 years of imprisonment is not based upon

   the retroactive application of the Fair Sentence Act. Rather, the defendant suggests that the

   mandatory life sentence was illegal when originally imposed because neither the Superseding

   Indictment nor the jury’s verdict specified an amount of crack cocaine. The defendant’s challenge

   to the legality of his sentence based upon the language of the Superseding Indictment or the jury’s

   verdict should have been raised at sentencing, on appeal, or as part of a Section 2255 motion. As

   the defendant failed to raise such a challenge through any of these vehicles, the Court lacks the

   jurisdiction to consider the defendant’s challenge to his sentence.

          In any event, the defendant’s challenge to the Court’s imposition of a sentence in excess of

   20 years based upon the language of the Superseding Indictment or the jury’s verdict is




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   unavailing. 7 At the time of the defendant’s conviction the law in this Circuit was clear “that the

   weight or quantity of a controlled substance is not an element of the offense that must be included

   in a § 841(a)(1) indictment.” United States v. Perez, 960 F.2d 1569, 1574 (11th Cir. 1992).

   Accordingly, “[b]ecause the quantity of controlled substance triggering the enhanced penalties

   provided in § 841(b) is relevant only at sentencing, there is no reason that the quantity involved

   must necessarily appear in the indictment if the defendant is otherwise on adequate notice that

   enhanced penalties are available.” Id.   Under this then-controlling law, there was no error in the

   Court imposing a sentence in accordance with the penalty provisions of Section 841(b)(1)(A) even

   though the Superseding Indictment and the jury’s verdict did not allege a specified quantity of

   crack cocaine.

          This law changed in the wake of Apprendi v. New Jersey, 530 U.S. 466 (2000), in which

   the Supreme Court held that any fact, other than a prior conviction, that increases the statutory

   maximum for a crime must be charged in the indictment, submitted to the jury, and proven beyond

   a reasonable doubt. 8 However, the Eleventh Circuit has made clear that “the new constitutional

   rule of criminal procedure announced in Apprendi does not apply retroactively on collateral

   review.” McCoy v. United States, 266 F.3d 1245, 1258 (11th Cir. 2001). 9 Moreover, where, as

   here, a defendant fails to raise an Apprendi-claim on direct appeal, that claim is procedurally



   7
    Even if the defendant had been responsible for less than 28 grams of crack cocaine (which he was
   not) such that his statutory maximum sentence would have been dictated by Section 841(b)(1)(C),
   the defendant would not have been subject to a statutory maximum sentence of 20 years as he
   argues. Rather, because of the 851 enhancement, had the drug quantity been less than 28 grams,
   he would have been subjected to a 30-year maximum sentence.

   8
    Alleyne v. United States, 570 U.S. 99 (2013), would later extend the Apprendi doctrine to facts
   that establish a mandatory minimum sentence.
   9
    The same is true of Alleyne. See Jeanty v. Warden, FCI-Miami, 757 F.3d 1283, 1285–86 (11th
   Cir. 2014).
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   defaulted. See id. at 1258-59. Indeed, even when an Apprendi-claim is raised for the first time on

   direct appeal, and thus subject to plain error review, a defendant cannot satisfy his burden of

   establishing that the failure to allege a drug quantity in the charging document seriously affected

   the fairness, integrity, or public reputation of the judicial proceeding when the evidence regarding

   the quantity of drugs was “overwhelming” or “essentially uncontroverted.” United States v.

   Cotton, 535 U.S. 625, 633 (2002). That is the case here, where the defendant never contested the

   fact that the offense involved 865.8 grams of crack cocaine. See also United States v. Swatzie, 228

   F.3d 1278, 1283-84 (11th Cir. 2000)(there was no plain error in the failure of the indictment to

   allege a drug amount in light of the trial evidence regarding the amount of drugs involved in the

   offense); United States v. Cromartie, 267 F.3d 1293, 1297 (11th Cir. 2001) (same).

          The First Step Act only directs courts to examine a sentence as if sections 2 and 3 of the

   Fair Sentencing Act were in effect at the time, not to change the manner of determining quantity.

   Such a determination at this time does not offend Apprendi as it does not involve any increase in

   a sentence based on judge-found facts. To the contrary, the First Step Act only authorizes a court

   to “reduce” a sentence, and further makes clear that “[n]othing in this section shall be construed to

   require a court to reduce any sentence pursuant to this section.” First Step Act, Sec. 404(c); see

   also Dillon v. United States, 560 U.S. 817 (2010) (holding that a court need not apply Booker v.

   United States, 543 U.S. 220 (2005), which rendered the Guidelines advisory, to remedy a violation

   of Apprendi where the court is considering only whether to reduce a sentence based on a retroactive

   guideline amendment).

          Moreover, if the Apprendi doctrine could apply in this circumstance, the Court should

   exercise the plenary discretion afforded by the First Step Act and not reduce the defendant’s

   sentence under that Act. The defendant should not receive a windfall simply because the



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   government did not have the foresight to anticipate both Apprendi and the Fair Sentencing Act and

   charge that the offense involved “280 grams or more” – rather than “mixture and substance

   containing . . . crack cocaine.” Such an outcome would offend “the need to avoid unwarranted

   sentencing disparities among” similarly situated offenders under 18 U.S.C. § 3553(a)(6), and the

   need for a sentence to “reflect the seriousness of the offense,” “promote respect for the law,” and

   “provide just punishment for the offense” under Section 3553(a)(2)(A). See Dorsey v. United

   States, 567 U.S. 260, 276–79 (2012) (expressing the importance of consistency in sentencing

   similarly situated offenders when determining the retroactive application of a statutory

   amendment).

          Equally unavailing is the defendant’s argument that because Section 401 of the First Step

   Act lowered the statutory-minimum sentences under 841(b)(1)(A) for recidivists, and also changed

   the definition of qualifying predicate offenses, he should be resentenced. Section 401 of the First

   Step Act, unlike other sections of the Act, does not apply retroactively to defendants who were

   sentenced prior to its enactment. Rather, Section 401 states:

           This section, and the amendments made by this section, shall apply to any offense
          that was committed before the date of enactment of this Act, if a sentence for the
          offense has not been imposed as of such date of enactment.

   First Step Act, Section 401(c) (emphasis added). By contrast, Section 404(b) provides only for

   imposition of “a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 . . .

   were in effect at the time the covered offense was committed.” Put another way, a matter involving

   the Fair Sentencing Act is not a case in which “a sentence has not been imposed as of” the date of

   enactment of the First Step Act; it is a case in which a sentence was imposed and may now be

   reduced in specified circumstances. The amendments in Section 401 should not be applied in such

   a proceeding. Any different result would cause inconsistent treatment between crack-cocaine



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   offenders who were originally sentence before the Fair Sentencing Act, and every other recidivist

   subject to Section 841(b)(1)(A) or (B) who was sentenced in all the years afterwards up to the

   enactment of the First Step Act. Because the defendant’s sentence in this case was imposed and

   became final well before the enactment of the First Step Act of 2018 on December 21, 2018,

   Section 401 of the Act does not apply retroactively to the defendant’s sentence.

                                           CONCLUSION

          WHEREFORE, because the retroactive application of the Fair Sentencing Act has no effect

   on the defendant’s statutory range of imprisonment, statutory range of supervised release, or

   guideline range, the motion should be DENIED.

                                                         Respectfully submitted,

                                                       ARIANA FAJARDO ORSHAN
                                                       UNITED STATES ATTORNEY

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 27, 2019, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF, and also mailed to:

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                                                       /s/ Alicia E. Shick
                                                       Alicia E. Shick
                                                       Assistant United States Attorney


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